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                            United States District Court
                                      for the
                            Southern District of Florida

  Ro-Ma Holdings #2, LLC, Plaintiff,    )
                                        )
  v.                                    )
                                            Civil Action No. 20-20252-Civ-Scola
                                        )
  Scottsdale Insurance Company,         )
  Defendant.                            )


                          Notice of Striking Docket Entry 10
        Pursuant to the Clerk’s Notice to Filer, Docket Entry 11, notice is hereby
  given of striking Docket Entry 10.




Respectfully submitted,
Dated: August 8, 2020                           _/s/ _Annette del Aguila
                                                 Annette del Aguila, Esq.
                                                 Florida Bar No.: 40546
                                                 Email: ada@mellawyers.com
                                                 Marin, Eljaiek, Lopez &
                                                 Martinez, P.L.
                                                 2601 South Bayshore Drive
                                                 18th Floor
                                                 Coconut Grove, FL 33133
                                                 Telephone: (305) 444-5969
                                                 Facsimile: (305) 444-1939
                                                 Attorney for Plaintiff
